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                        UNITED STATES DISTRICT COURT FOR
                       THE WESTERN DISTRICT OF WISCONSIN


DEMOCRATIC NATIONAL COMMITTEE, et al.,
        Plaintiffs,
        v.
MARGE BOSTELMANN, et al.,
                                                Civil Action No.: 3:20-cv-249-wmc
        Defendants,
        and
REPUBLICAN NATIONAL COMMITTEE, et al.,
        Intervening Defendants.

SYLVIA GEAR, et al.,
        Plaintiffs,
        v.
MARGE BOSTELMANN, et al.,
                                                Civil Action No.: 3:20-cv-278-wmc
        Defendants,
        and
REPUBLICAN NATIONAL COMMITTEE, et al.,
        Intervening Defendants.

CHRYSTAL EDWARDS, et al.,
        Plaintiffs,
        v.
ROBIN VOS, et al.,
                                                Civil Action No. 3:20-cv-340-wmc
        Defendants.
        and
REPUBLICAN NATIONAL COMMITTEE, et al.,
        Intervening Defendants.

JILL SWENSON, et al.,
   Plaintiffs,
   v.
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MARGE BOSTELMANN, et al.,                                    Civil Action No. 3:20-cv-459-wmc
   and
REPUBLICAN NATIONAL COMMITTEE, et al.,
   Intervening Defendants.


                   PLAINTIFFS’ NOTICE OF MOTION AND MOTION
                         FOR PRELIMINARY INJUNCTION


TO:      All Counsel of Record

         PLEASE TAKE NOTICE that Plaintiffs Chrystal Edwards, Terron Edwards, John

Jacobson, Catherine Cooper, Kileigh Hannah, Kristopher Rowe, Katie Rowe, Charles Dennert,

Jean Ackerman, William Laske, Jan Graveline, Todd Graveline, Angela West, and Douglas West

(collectively the “Edwards Plaintiffs”), by their attorneys Laffey, Leitner & Goode LLC, Halling

& Cayo, S.C., Urban & Taylor, S.C., and Salawdeh Law Office, LLC, move the Court, located at

120 N. Henry St., Madison, Wisconsin 53703, for injunctive relief pursuant to Fed. R. Civ. P.

65(a). This motion will be heard on August 5, 2020 at 9:00 a.m. in accordance with the Court’s

June 30, 2020 Scheduling Order [Edwards Dkt. # 35].

         PLEASE TAKE FURTHER NOTICE that the Edwards Plaintiffs seek an order solely

in relation to the November 3, 2020 General and Presidential Election (the “November Election”)

as follows:

         1.    Compelling prospective injunctive relief as described with particularly in ¶¶ 2-13

in this motion that is focused exclusively on how Wisconsin approaches the November Election

due to the ongoing and growing problems associated with COVID-19, which is the most significant

public health crisis since the influenza pandemic of 1918;




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        2.     Requiring the WEC Defendants identified in Paragraphs 27-34 of the Amended

Complaint [Edwards Dkt. #5] to adopt for the November Election the in-person election hygiene

protocols established by the United States Centers for Disease Control and Prevention (the “CDC

Protocols”) as provided at Exhibit Z to the Declaration of Joseph S. Goode submitted herewith;

        3.     Compelling the WEC Defendants to prepare written guidance consistent with the

CDC Protocols and any order of this Court and to distribute such guidance no later than August

31, 2020 to each of Wisconsin’s 1,853 municipalities overseeing one or more polling stations in

Wisconsin for the November Election;

        4.     Obligating the WEC Defendants to condition each Wisconsin municipality’s

receipt of grant money being administered by the WEC Defendants under the Coronavirus Aid,

Relief, and Economic Security Act (the “CARES Act”) and/or Help America Vote Act (“HAVA”)

upon the municipality’s written agreement to implement the CDC Protocols for the November

Election and to train all polling personnel with regard to those Protocols no later than October 1,

2020;

        5.     Enjoining enforcement of Wis. Stat. §§ 6.86 and 6.87, which prohibit municipal

clerks from issuing an absentee ballot without a written or electronic application and proof of

identification (unless already on file);

        6.     Compelling the WEC Defendants to direct municipal clerks to send absentee ballots

(not merely applications for absentee ballots) by mail to all registered voters on the voter rolls as

of September 30, 2020;

        7.     Enjoining enforcement of all Wisconsin voter identification laws that unduly

burden persons with disabilities and instead allowing disabled voters to submit a statement under

penalty of perjury that they were unable to safely obtain identification suitable for voting, which




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statement shall be in a form drafted by the WEC Defendants and approved in form by the Court

after consultation between the parties;

       8.      Regardless of whether the Court issues the relief set forth above, enjoining

enforcement of Wis. Stat. § 6.87(3) to allow electors who have timely requested absentee ballots

(but have not received them in time to complete and return them) to be provided with ballots via

email or fax so as to allow the elector to timely return the emailed or faxed ballot prior to November

3, 2020;

       9.      Regardless of whether the Court issues the relief set forth above, enjoining

enforcement of the “qualified witness” requirement in Wis. Stat. § 6.87(2) for those who do not

reside with such a witness to minimize the undue and excessive burden on individuals who are

immunocompromised, have mobility limitations, are infected with COVID-19, or are isolating due

to exposure to coronavirus, suspected exposure or infection, or pursuant to a local or state

quarantine order;

       10.     Enjoining enforcement of Wis. Stat. §§ 6.88, 7.51 and 7.52 (which prohibit

municipalities from reviewing absentee ballots before election day) to allow electors to cure

defects that are readily apparent on the transmittal envelope or ballot as determined by the

municipal clerk;

       11.     Enjoining enforcement of Wis. Stat. § 6.86(1)(b) (which limits in-person absentee

voting to the period beginning 14 days before the election and ending the Sunday before the

election) to allow municipalities to spread out in-person voting consistent with the CDC Protocols;

       12.     Enjoining enforcement of Wis. Stat. § 6.855(1) (which requires municipalities

choosing to offer in-person absentee voting at a site other than the clerk or board of election

commissioners’ office to designate such sites “no fewer than 14 days prior to the time that absentee




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ballots are available for the primary . . . and [site selection] shall remain in effect until at least the

day after the election”) to accommodate the need to move in-person absentee sites, add additional

sites, or to compensate for deficiencies in the mail-in ballot process based on the CDC Protocols

or for other reasonable public health concerns; and

        13.     Enjoining enforcement of Wis. Stat. § 7.30(2) (which requires all election officials

and poll workers to be a qualified elector of the county in which they are serving) to address poll

worker shortages, allow municipalities to draw from a statewide pool of poll workers, and enable

a more effective deployment of National Guard members based on expected shortages stemming

from the existence of COVID-19.

        The grounds for this motion are set forth in the brief and declarations filed

contemporaneously.

        Dated this 8th day of July 2020.
                                                    Respectfully submitted,

                                                        LAFFEY, LEITNER & GOODE LLC
                                                        Attorneys for Plaintiffs

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